 Case 3:20-cv-00756-JPG Document 18 Filed 01/27/21 Page 1 of 5 Page ID #205




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER, Individually,                       :
                                                    :
                                                    :
                 Plaintiff,                         :
                                                    :    Case No. 3:20-cv-00756
v.                                                  :
                                                    :
JP HOTELS, INC. d/b/a QUALITY INN                   :
CAIRO, a Foreign Corporation,                       :
                                                    :
            Defendant.                              :
_______________________________________/


              PLAINTIFF’S BILL OF COSTS AND LITIGATION EXPENSES

        Plaintiff hereby submits the following bill of costs and expenses incurred in the instant

action. Litigation expenses are awardable pursuant to 42 U.S.C. Section 12205.


Costs
Filing fees                                                                             $400.00
Process server                                                                          $110.00

Initial investigator                                                                    $650.00

                               Total costs and expenses are $1,160.00.

                                                        Respectfully submitted,


                                                        /s/ Kimberly A. Corkill, Esq.

                                                        Kimberly A. Corkill, Of Counsel
                                                        Thomas B. Bacon, P.A.
                                                        7 N. Coyle Street
                                                        Pensacola, FL 32502
                                                        ph. 850-375-3475
                                                        fx 877-828-4446
                                                        kimberlyatlaw@gmail.com
                                                        Florida Bar Id. No. 84942

                                                                                                  EXHIBIT J
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                                       Thomas B. Bacon, Esq.
                                       Thomas B. Bacon, P.A.
                                       644 North Mc Donald St.
                                       Mt. Dora, FL 32757
                                       ph. (850)375-3475
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                                       Florida Bar. Id. No. 84942
      Case 3:20-cv-00756-JPG Document 18 Filed 01/27/21 Page 3 of 5 Page ID #207




                     Stewart & Associates, Inc.
                     50 W. Douglas Street, Stewart Centre, Suite 1200, Freeport, IL 61032
                     Phone: (815) 235-3807 x117          Fax: (815) 235-1290




KIMBERLY CORKILL
CORKILL LAW FIRM, LLC
7 N COYLE STREET
PENSACOLA, FL, 32502  Telephone: (850) 375-3475              Fax:

                                               Invoice# 5169
                                         Date of Invoice: 08/20/2020
Plaintiff:     DEB
Case Number:         1:20 CV 04593            Firm #:                         Return Date:      08/30/2020
Court:       UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF ILLINOIS
Process Server:       OUTSIDE SERVER
Process Type: SUMMONS AND COMPLAINT
Defendant: #1          QUALITY INN CAIRO                              Type Of Service:
Person Served:                                                        Date Of Service:
Sex                    Age           Height     Build                 Hair Color         Race


Type Of Premise:

Location:       13201 Kessler Rd IL-3 #57 ,Cairo, Illinois, 62914

   Delivery
                          Total
    Charge
$110.00              $110.00

                                                              Total                $110.00
                                               Amount Received                       $0.00
                                                   Balance Due                     $110.00

                        INFORMATION DEEMED RELIABLE BUT NOT GUARANTEED
                              PAYABLE UPON RECEIPT, 2% PER MONTH




8/20/2020 2:04 PM                                                                                1 of 1
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                                                                                               1


 DANIEL PEZZA                                                                    INVOICE
 PO Box 432
 Odessa, Fl 33556

                                                                                INVOICE #13181
                                                                                 DATE: 6/7/2020


 TO:
 Thomas Bacon Law Office
 644 N MC Donald Street
 Mount Dora, FL 32757



 PROPERTY ADDRESS:
 Quality Inn Cairo I-57 IL
 13201 Kessler Rd, IL-3 #57, Cairo, IL 62914



6.7.20 Review www.expedia.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.15)


6.7.20 Review www.hotels.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.20)


6.7.20 Review www.booking.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.15)


6.7.20 Review www.orbitz.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
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                                                                                                     2


hotel are accessible, gives a list of amenities and features at hotel.       (0.20)


6.7.20 Review www.priceline.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.20)


6.7.20 Review www.agoda.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.15)


6.7.20 Perform internet search to ascertain the identity of all websites utilized by the hotel for
online reservations system. (0.60)


6.7.20 Draft a report based on screenshots and findings. (1.15)


6.7.20 Correspondence to Attorney Bacon. (0.45)




                                                                          3.25 HRS @ $200.00/HR
                                                                                 TOTAL $650.00
